                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                              Case No. 7:14-CV-00157-D

CTB, INC.,                                     )
                                               )
        Plaintiff,                             )
                                               )       JOINT NOTICE
        v.                                     )
                                               )
HOG SLAT, INC.,                                )
                                               )
        Defendant.                             )


        NOW COME Plaintiff CTB, Inc. (“CTB”) and Defendant Hog Slat, Inc. (“Hog Slat”)

(together, the “Parties”), and for their Joint Notice, state as follows:

        1.       On July 31, 2017, the Parties filed a Joint Motion for a Stay (D.E. 153) of any

ruling on the pending Motions for Summary Judgment (D.E. 115, 118), Motion In Limine to

exclude Plaintiff’s expert Rhonda Harper (D.E. 142), and Motion for Hearing on the Motion In

Limine (D.E. 148) pending the outcome of certain engineering tests being conducted by Hog Slat

that could lead to settlement.

        2.       The Court granted the Joint Motion (D.E. 154), and denied without prejudice the

pending motions, indicating that they could be reactivated if settlement is not reached. The

Court further ordered the Parties to submit a Joint Notice to the Court no later than November 1,

2017 advising of the status of the testing and settlement efforts.

        3.       Since filing the Joint Motion, the Parties have continued to engage in settlement

talks. Further, Hog Slat has continued its engineering tests, conducting multiple rounds of tests

to evaluate the viability and market acceptance of certain alternatives.




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        4.       The results to date have been inconclusive and additional testing will require at

least another 20 or more weeks.

        Should the Court desire additional information, the parties will appear in person or

telephonically at the Court’s request.



    Respectfully submitted,


    WILLIAMS MULLEN                               CLARK HILL PLC

    /s/ Robert C. Van Arnam____                   /s/ Christopher B. Clare___________
    Robert C. Van Arnam                           David J. Marr (Ill. Bar No. 6194750)
    N.C. State Bar No. 28838                      Eric Dorkin (Ill. Bar No. 6256930)
    Richard Matthews                              130 East Randolph St., Suite 3900
    Andrew Shores                                 Chicago, Illinois 60601
    WILLIAMS MULLEN                               tel (312) 985-5900
    301 Fayetteville Street, Suite 1700           fax (312) 985-5999
    P.O. Box 1000 (27602)                         dmarr@clarkhill.com
    Raleigh, NC 27601                             edorkin@clarkhill.com
    rvanarnam@williamsmullen.com
    rmatthews@williamsmullen.com                  Christopher B. Clare (N.C. Bar No. 39582)
    ashores@williamsmullen.com                    601 Pennsylvania Avenue NW
                                                  North Building, Suite 1000
    Attorneys for Defendant Hog Slat,             Washington, D.C. 20004
    Incorporated                                  tel (202) 572-8671
                                                  fax (202) 772-0919
                                                  cclare@clarkhill.com
                                                  Attorney for Plaintiff, CTB, Inc.
                                                  Local Civil Rule 83.1 Counsel

                                                  Attorneys for Plaintiff, CTB, Inc.




Dated: November 1, 2017




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                               CERTIFICATE OF SERVICE

        I certify that, on November 1, 2017, I electronically filed the foregoing JOINT NOTICE
with the Clerk of the Court using the CM/ECF system that will automatically serve all counsel of
record including the following:


                             Robert C. Van Arnam
                             Richard Matthews
                             Andrew Shores
                             WILLIAMS MULLEN
                             301 Fayetteville Street, Suite 1700
                             P.O. Box 1000 (27602)
                             Raleigh, NC 27601
                             rvanarnam@williamsmullen.com
                             rmatthews@williamsmullen.com
                             ashores@williamsmullen.com




Dated: November 1, 2017

                                            CLARK HILL PLC

                                            s/ Christopher B. Clare
                                            Christopher B. Clare




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